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8                              UNITED STATES DISTRICT COURT
9                            SOUTHERN DISTRICT OF CALIFORNIA
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      TONINO RUSSO,                                           Case No. 18cv1837-MMA (MDD)
11
                                                              ORDER GRANTING DEFENDANTS’
12                                         Plaintiff,         UNOPPOSED EX PARTE MOTION;
      v.
13
      COUNTY OF SAN DIEGO, et al.,                            [Doc. No. 48]
14
                                                              AMENDING PRETRIAL
15                                     Defendants.            SCHEDULING ORDER
16
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18
19            Upon due consideration, good cause appearing, the Court GRANTS Defendants’
20    unopposed ex parte motion to continue the trial of this matter and related deadlines and
21    hearings. See Doc. No. 48. Accordingly, the Court hereby AMENDS the pretrial
22    scheduling order as follows:
23         1. Motions in limine will be heard at the final pretrial conference (date and time set
24            forth below, see ¶ 3) and must be filed by November 16, 2020. Oppositions to
25            motions in limine must be filed by November 30, 2020. No reply briefs will be
26            accepted. The parties are limited to five (5) motions in limine per side and should
27            consult the Undersigned’s Civil Chambers Rules for further information regarding
28            motions in limine.

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1        2. The parties must comply with the pretrial disclosure requirements of Federal Rule
2           of Civil Procedure 26(a)(3) by November 23, 2020. Failure to comply with these
3           disclosure requirements could result in evidence preclusion or other sanctions
4           under Federal Rule of Civil Procedure 37.
5        3. The final pretrial conference will be held on Monday, December 14, 2020 at 2:30
6           p.m. in Courtroom 3D of the Edward J. Schwartz United States Courthouse.
7        4. The proposed Final Pretrial Order must be prepared, served, and lodged with the
8           Court on or before January 8, 2021. The parties should consult Civil Local Rule
9           16.1(f)(6) regarding proper form and content.
10       5. The parties may file proposed jury instructions and verdict forms no later than
11          5:00 p.m. on Thursday, January 14, 2021. If the parties file proposed jury
12          instructions and verdict forms, the parties must simultaneously email an electronic
13          copy (Microsoft Word format) to efile_anello@casd.uscourts.gov.
14       6. The parties must provide the Court with two copies of their exhibits no later than
15          3:00 p.m. on Friday, January 15, 2021. The parties must deliver their exhibits
16          directly to Chambers on the third floor of the Edward J. Schwartz United States
17          Courthouse.
18       7. Trial is set to begin on Tuesday, January 19, 2021, at 8:30 a.m. in Courtroom 3D
19          of the Edward J. Schwartz United States Courthouse.
20          IT IS SO ORDERED.
21    Dated: August 28, 2020
22                                                 _____________________________
23                                                 HON. MICHAEL M. ANELLO
                                                   United States District Judge
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